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           UNITED STATES DISTRICT COURT FOR THE
                                                NORTHERN
                        DISTRICT OF NEW YORK                                                               P88574 4 3
                                   AFFIDAVIT OF SERVICE
                                                                                               Index no : 1:23-ev-409 (AMN/TWD)
                                                                                                             Date Filed: 04/03/2023

          Plaintiff(s):             ANDRE JOHNSON
          Defendant(s):             PHOENIX PROFESSIONAL
                                                         PROTECTION, INC., ET ANO
         STATE OF NEW YORK
         COUNTY OF ALBANY                 ss.:

         Corey Doyle, the undersigned, being duly sworn,
                                                               deposes and says that I was at the time of service over the
         eighteen and not a party to this action. I reside in the STATE OF NEW YORK.                                       age of
         On
          04/21/2023 at 9:11 AM, I served the within
                                                     SUMMONS IN A CIVIL ACTION, PROOF OF
        COMPLAINT AND EXHIBITS TO COMPLAINT              on HENRY I KLEIN at 227             SERVICE,
        NY 12159 in the manner indicated below:                                  Longhouse Lane , Slingerlands,

        SUITABLE AGE: by delivering thereat a true
                                                        copy of each to MELISSA KLEIN, WIFE of HENRY I
        person of suitable age and discretion. Said                                                                 KLEIN, a
                                                    premises is Defendant(s)'s usual place of abode within the state.
        On 04/21/2023, deponent
                                  completed service by depositing a tme          of each properly sealed postpaid with first class
        postage and addressed to the recipient at above service address incopy
                of                                                          an official depository under the exclusive
        custody    the U. S. Postal Service with no indication that                                                    care and
        marked personal and confidential.                           legal documents were contained within. The
                                                                                                                  envelope was
     A description of the Recipient, or other
                                                 person served on behalf of the Recipient is as follows:


                                                         B


    I asked the person spoken to whether Defendant(s) was in the active
    one who is in the
                       military service of the United States or of the State of military service or financially dependent upon any
    received a negative reply. The source of                                      New York in any capacity whatever and
                                                my  information and belief are the conversations     above
    information and belief I aver that the             is not in the military service of New York State ornarrated. Upon
    that term is defined in either the Staterecipient
                                             or in the Federal statutes.                                     of the United States as
    Sworn to and subscribed before me on 04/24/2023
                                                                      X
                                                                      Corey Doy h
                                                                      Lexitas
                                                                      1235 Bmadway, 2nd Floor
                                                                      New York, NY 10001
                                                                      212-233-4040
Notary Public
                                                                      8857443
                                                                      8857443
N
    o          b,   teofNY
               3

Comm asion exphes 06/ I/2026


              bh     of New York
N
